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UNITED STATES DISTRICT COURT
WESTHRN DISTRICT OF WASHINGTON

VALVE CORPORATION, a Wasllington
corpomtiun, ND. Ol-CV~01683-TSZ~MAT
Plaintiff,

vsl STlPULA'I`IDN AND GR.DER

SHERRA E.NT]:ZRTAINMENT INC. (AKA FOR VO]..UNTARY

SIERR.A CIN LINE, ]NC“), a Delaware DlSMISSAL WITI-I

oorporation; VIVENDI U`NIVERSAL GAMES, PREJUD]CE

¥NC., a Delaware corporati on; and VI`VEN`DI

UNTVERBAL, S..A., a French foreign

oorpolation,

Def`cndants.

 

S[ERRA ENTERTAII\TMENT, TNC. (.AKA
SIERRA O“N LINE, INC.], a Do]aware
oorporation; and VWENDI U`N]VERSAL
GAI\'TE.S, INC., a Delaware oorporation,

Counter-Claimants,
VS_

VALVE CDR_PORATION, a Washington
corporation; GABE NEWELL and LISA
MENNET N`EWELL, husband and wife and the
maxim community composed theron f; and
SC.OTT LYNCH and IULlE l.YNCH, husband
-ancl wife and the marital community composed
the[enf',

 

Counteroloim Defoudants.

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Csse 2102-cv-Utl583-TSZ-MAT Document 257 Fiied 04111!2005 Page 2 of 4

lt is hereby stipulated by and between Plaintiit' end Countetels.im Defendant Va|ve
Corporstien, Counterclairn Defendants Gsbe Neweli. I.,isa Mennet Neweil, Scctt Lynch, and
Jnh'e Lynch, 113-efendants end Counter-Cisimsnts Sierre E.ntertainment, lnc._ end Vivendi
Universal Games_, lne., and Det`endsnt Vivendi Universsi, S.A., through their designated
counsel of record, that the Co:npieint and related Cotlnterclnirn in the above-entitled action
be and hereby is dismissed with prejudice in its entirety pursuant to Federei P.uie of Civil
Prooedure 41 , including eli claims and counterclaims against each party, and ther each party

shall bear its own costs and attorneysa fees.

The respective sttorneys, by their signatures below, represent and warrant that they
have the consent of their respective elients, have discussed this Stipulaticn For Voluntery

Dismissal Wi th Prej ndioe with them and have the authority to bind their respective clien_ts_.

HiLLls Cl.nen Mnnrin 52

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Case 2102-cv-01683-TSZ-MAT Document 257 Filed 04!”1 11*200_5 Pege 3 of4

DA`I'E.D this l ltli day of Apr‘ii, 20051

ones thiel 1“‘ day of Apnl, 2005.

Stz]onlnrr‘on find Oi'derFor‘ Voltmra)j# .Dt'snn`sso¢’

HIL.L.ls CL.ARK MARTIN & PETERSON., P.S.
.Miehael R_. Scott, WSBA #'12822

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By !sf Annette l.. Hurst

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Attomeys for Defendants end Counter-
Clannzmts Sierra Entertsinlnent, lne.. end
Vivendi Universai Games, ble. end Det'endsnt
Vivendi Universei, S.A.

PRESTDN GATES & ELL[S LL'P

By fsi .Teson P. Holtmnn

Ktn'l J. Quselcenbush, wsnn essex
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Attomeys for Pisintiff and Counterc-ls.im
Defendent Velve Corporetion end
Counterelsim Def`entlams Ge`ne NeWell, Lisa
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Pnrsn_son, P.S..

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ORDER
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